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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


IN RE:                                                )     CHAPTER 11
                                                      )
A-1 EXPRESS DELIVERY SERVICE, INC.,                   )     CASE NO. 17-52865-pmb
                                                      )
                       Debtor.                        )
                                                      )


     EMERGENCY MOTION FOR AUTHORITY TO ASSUME CONTRACTS AND
        UNEXPIRED LEASES IN CONNECTION WITH SALE OF ASSETS

   PARTIES TO CONTRACTS, LEASES OR LICENSES WITH THE DEBTOR SHOULD
EXAMINE EXHIBIT A ATTACHED HERETOTO THIS MOTION, TO LOCATE THEIR NAMES
                   AND CONTRACTS, LEASES OR LICENSES


       COMES NOW A-1 Express Delivery Service, Inc. (the “Debtor”) in the above-styled

Chapter 11 case (the “Case”), by and through the undersigned counsel, and makes and files this

Emergency Motion pursuant to pursuant to Sections 105(a) and 365(a) of Title 11 of the United

States Code, 11 U.S.C. § 101 et seq. as amended (the “Bankruptcy Code”), and Rules 2002, 6006,

9006 and 9007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), allowing

the Debtor to assume certain executory contracts and unexpired leases of real and personal property

(collectively, the “Contracts”) in connection with their previously-filed motion to sell

substantially all of their assets, and to assign the Contracts to the designated purchaser identified

in the motion to sell. In support of this Motion, the Debtors respectfully represent as follows:

                                     Jurisdiction and Venue

                                                 1.

       This Court has jurisdiction of this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This is

a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2). Venue of the Debtor’s Chapter 11 case and
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this Motion in this District are proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory

predicates for the relief sought herein are Sections 105(a) and 365(a) of the Bankruptcy Code and

Bankruptcy Rules 2002, 6006, 9006 and 9007.

                                          Background

                                                2.

       On February 14, 2017 (the “Petition Date”), the Debtor filed a voluntary petition for relief

under Chapter 11 of the Bankruptcy Code. The Debtor is authorized to operate its business as a

debtor-in-possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code. No request has

been made for the appointment of a trustee or examiner, and no committee has been appointed in

this Case.

                                                3.

       On March 7, 2017, the Debtor filed its Emergency Motion (A) For Authority to Sell Assets

Free and Clear of Liens, Claims, and Encumbrances (B) To Assume and Assign Certain Executory

Contracts, Leases and Licenses and Establish Cure Costs in Connection Therewith; (C) To

Establish Procedures with Respect to Such Sale and the Assumption and Assignment of Executory

Contracts and Leases, and (D) To Shorten and Limit Notice [Dkt. No. 53] (the “Sale Motion”),

which Sale Motion is scheduled to be heard on March 16, 2017 (the “Hearing”).

                                        Relief Requested

                                                4.

       Prior to the Petition Date, the Debtor entered into certain pre-petition Contracts with

various parties. A list of the Contracts is attached hereto as Exhibit A. The Contracts may contain

confidential information and therefore are not attached hereto, but are available upon request by




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interested parties. Inclusion on Exhibit A should not be deemed an admission that such Contracts

are “executory” within the meaning of Section 365 of the Bankruptcy Code.

                                                 5.

       The Debtor requests authority from this Court to assume and assign the Contracts to the

proposed purchaser of Debtor’s assets, Greenwich Logistics, LLC (“Greenwich”) at the closing

of any sale approved by this Court pursuant to the Sale Motion. The Debtor reserves the right to

exclude any or all of the Contracts from assumption and assignment prior to the closing of the sale,

if approved by this Court (the “Sale Order”).

                      Establishing Cure Costs and Adequate Assurance

                                                 6.

       The Debtor, by this Motion, is also requesting that any objections by non-Debtor parties to

the Contracts to assumption and assignment be determined at the Hearing. In assuming the

Contracts, Greenwich will cure defaults and/or pay all amounts (collectively, “Cure Costs”), if

any, as required by Section 365(b) of the Bankruptcy Code and will provide adequate assurance

of future performance by the Purchaser to whom the Assigned Contracts are being assigned.

Exhibit A lists all amounts that the Debtor believes will be necessary to cure defaults under any of

the Contracts. The Debtor requests that, unless an objection to the proposed Cure Costs is properly

and timely filed and served, the Court enter an order providing that the Cure Costs shall be fixed

at the amounts shown on Exhibit A (as such may be amended) and shall constitute the entire

amount necessary to cure and/or provide compensation for any defaults under Section 365(b) of

the Bankruptcy Code. If an objection to a particular Cure Cost is timely filed and served, the

Debtor request that the Court determine the disputed Cure Cost at the Hearing on this Motion. The

Cure Costs as ultimately determined by the Court shall be paid as soon as practicable following




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the closing any sale approved by this Court, or on such other date as shall be determined by the

Court.

                                                  7.

         It shall be Greenwich’s responsibility for providing evidence necessary for the Court to

find that the assignee can provide adequate assurance of future performance of the Contracts within

the meaning of Section 365(b)(1)(C) of the Bankruptcy Code. Attached hereto as Exhibit B is

evidence that Greenwich can provide such adequate assurance of future performance. Greenwich

will assume all obligations that arise after the closing date under each of the Contracts to be

assigned to it. The Debtor will be relieved of any post-assignment liability for any breach of a

Contract in accordance with Section 365(k) of the Bankruptcy Code.

                                          Basis for Relief

                                                  8.

         Since the Petition Date, the Debtor has sought authority to sell its assets to Greenwich,

which Sale Motion is scheduled to be heard at the Hearing. In furtherance of that sale, Greenwich

has identified certain contracts which it needs to operate the business post-closing. In the exercise

of its business judgment, the Debtor has now determined that it is in the best interest of the Debtor,

its creditors and its estate to assume the Contracts and assign them to Greenwich.

                                                  9.

         Section 365(a) of the Bankruptcy Code authorizes a debtor to assume or reject its executory

contracts and unexpired leases subject to the approval of the bankruptcy court: “(a) Except as

provided in….      subsections (b), (c) and (d) of this section, the trustee, subject to the court’s

approval, may assume or reject any executory contract or unexpired lease of the debtor.” 11 U.S.C.

§ 365(a).




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                                               10.

       Courts evaluate a decision to assume or reject an executory contract or unexpired lease

under the “business judgment” standard. See In re Gardinier, Inc., 831 F.2d 974, 976 n.2 (11th

Cir. 1987); In re Wells, 227 B.R. 553, 564 (Bankr. M.D. Fla. 1998); see also NLRB v. Bildisco &

Bildisco, 465 U.S. 513, 523 (1984). This standard is satisfied if the debtor determines in its

business judgment that the rejection of the contract or lease would benefit the estate. See Sharon

Steel Corp. v. Nat’l Fuel Gas Distr. Corp., 872 F.2d 36, 39-40 (3d Cir. 1989); In re Bicoastal

Corp., 125 B.R. 658, 667 (Bankr. M.D. Fla. 1991). The business judgment standard requires that

the court approve the debtor’s business decision unless that judgment is the product of bad faith,

whim, or caprice. See Lubrizol Enter. v. Richmond Metal Finishers, Inc., 756 F.2d 1043, 1047

(4th Cir. 1985); In re Prime Motor Inns, 124 B.R. 378, 383 (S.D. Fla. 1991).

                                               11.

       As noted above, the Debtor has determined, in the exercise of its business judgment, that

assuming the Contracts, effective as of the closing date of any sale approved by this Court, and

assigning them to Greenwich is in the best interests of its estate and creditors. The Contracts are

comprised of various leases of real property, various leases of personal property, and other

agreements necessary to operate the Debtor’s business.

                                               12.

       The cure costs for each of the Contracts is listed on Exhibit A hereto. The proposed sale

to Greenwich provides, inter alia, for Greenwich to pay all cure costs associated with the

Contracts.




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                                         Expedited Notice
                                                 13.

       Notice of this Motion is being provided to each of the counter-parties to the Contracts, the

Office of the United States Trustee, counsel for Greenwich, and counsel for the Debtor’s

prepetition secured lender via email or overnight mail. In light of the nature of the relief requested,

the Debtor respectfully requests that the Court find that no further notice is necessary. Given the

extremely dire circumstances facing the Debtor, the Debtor contends that the forms of notice set

forth above and the period for scheduling the Hearing on the Motion comport with Bankruptcy

Rules 6004, 6006 and 9007, constitute good and sufficient notice of the relief sought herein, and

of all hearings and procedures contemplated hereby.

       WHEREFORE, based upon the foregoing, the Debtors respectfully request that this Court:

       (a)     grant the Motion authorizing the Debtors to assume the Contracts and assign them

to Greenwich at closing; and

       (b)     grant the Debtor such other and further relief as is just and proper.

       Respectfully submitted, this 9th day of March, 2017.

                                                SCROGGINS & WILLIAMSON, P.C.

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 4401 Northside Parkway                         /s/ Matthew W. Levin
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                                                Counsel for the Debtor




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                                       EXHIBIT “A”


                       List of Contracts to be Assumed and Assigned

 Counterparty                                     Description      Date        Cure Cost
 917 & 925 West Hyde Park Properties, LLC         Real property 12/2/13        $8,714.00
 2459 West 208th Street. Suite 203                lease for office
 Torrance, CA 90501                               space         in
 Attn: Tom Baaden                                 Inglewood, CA
 tbaaden@astbb.com

 1450 West Peachtree, LLC                         Real property 2/10/2017      $0.00
 1450 West Peachtree Street                       lease for office
 Atlanta, GA 30309                                space         in
 Attn: Maria Akridge                              Atlanta, GA
 maria.akridge@mastermindmarketing.com

 ADP                                              401(k)                       $0.00
 Plan # 672850                                    administration
 Attn: Lisa Faust
 Lisa.Faust@adp.com

 Archway                                          Captive                      $0.00
 Attn: Susan K. Brown, ARM                        Insurance –
 Senior Program Manager                           Vehicle
 Captive Resources, LLC                           Insurance and
 201 E. Commerce Dr.                              Workers’ Comp
 Schaumburg, IL 60173

 Cigna                                            Health plan                  $0.00
 Attn: Jenifer Pecht
 Email: Jenifer.pecht@cigna.com

 Cypress Street LLC                               Real property      4/27/16   $1,300.00
 545 Cypress Street                               lease for office
 Hermosa Beach, CA 90254                          space in
 Attn: Julie Oakes                                Hermosa
                                                  Beach, CA
 DCT Williams Street LLC                          Real property                $0.00
 555 17th Street, Suite 3700                      lease for
 Denver, CO 80202                                 parking in San
 Attn: Terri Allen                                Leandro, CA




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 Mangrove Cay LP                                 Real property 4/27/16        $0.00
 2500 Eldo Road                                  lease        for
 Monroeville, PA 15146                           parking lot in
 Attn: Jeanne Moss                               Pittsburgh, PA

 Paycom Payroll, LLC                             Payroll            8/19/16   $0.00
 5 Concourse Parkway Suite 2400                  processor
 Atlanta, GA 30328
 Attn: Emmy Haeger
 Email: emmy.haeger@paycomonline.com

 Scanlan Kemper Bard Co                          Real property                $1,200.00
 810 NW Marshall Street, Suite 300               lease for office
 Portland, OR 97209                              space in San
 Attn: Stephen Wong                              Leandro, CA

 Shopify                                         Credit     Card 10/26/2015 $57,708.26
 150 Elgin Street, 8th Floor                     Advance
 Ottawa, Ontario K2P 1L4                         Loan/Shopping
 Canada                                          Card        and
 Attn: Alex Bakus                                Peachtree Petals
 Email: alex.bakus@shopify.com                   Website

 Susquehanna Commercial Finance                  Finance         12/14/2015 $0.00
 c/o Branch Banking and Trust Company            agreement for
 2 Country View Road, Suite 300                  computers and
 Malvern, PA 19355                               computer server
 Attn: Brian Engelhardt
 Email: bengelhardt@bbandt.com

 Union Real Estate                               Real Property                $1,092.00
 301 Grant Street, Suite 1250                    Lease for office
 Pittsburgh, PA 15219                            space         in
 Attn: Ed Kernisky                               Pittsburgh, PA
 Email: ekernisky@unionreal.com

 US Premium Finance                              Insurance          12/6/16   $0.00
 280 Technology Parkway, Suite 200               finance for
 Norcross, GA 30092                              workers’ comp
 Attn:                                           policy
 (770) 446-8773




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 Western Equipment Finance, Inc.               Equipment      11/15/2016 $0.00
 503 Highway 2 West                            Lease for
 Devils Lake, ND 58301                         computer
 Email:                                        equipment
 customerservice@westernequipmentfinance.com

 Wintrust Capital                              Equipment       12/14/2015 $0.00
 9700 West Higgins Road                        Lease for
 Rosemont, IL 60018                            telephone
 Attn: Brad McDonnell                          system,
 (303) 725-4311                                computers and
                                               computer server




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                                            EXHIBIT “B”


                               Adequate Assurance Information

Overview of Greenwich Logistics, LLC

       Greenwich Logistics, LLC is a newly formed Delaware limited liability company in good
standing and is a wholly owned subsidiary of Need It Now Delivers, LLC (“Need It Now”), also
a Delaware limited liability company in good standing.

       Need It Now is a national leader in the delivery, freight, logistics and warehousing
businesses and transports packages and freight throughout the United States and worldwide.
Among Need It Now’s subsidiaries and operating divisions are:

       ASAP Courier & Logistics;
       Expressway Courier & Freight;
       SOS Logistics;
       Lucky 2 Logistics;
       Need It Now Courier of Maryland;
       FastMile Delivers;
       SDS Global Logistics;
       Maryland Messenger;
       Quick One; and
       WDS Courier.

        The Need It Now family of companies has a combined 400 years of experience in the
messenger, courier and logistics industries and currently employs over 400 workers. Always
evolving through the use of improved technology and an ever-expanding fleet of trucks and vans,
Need It Now continues to employ the most current methods for delivering, tracking and reporting
its customers’ shipments, documents and packages.

       Need It Now operates offices and warehouses located in:

       Ft. Lauderdale, Florida;
       Orlando, Florida;
       Atlanta, Georgia;
       Charleston, South Carolina;
       Charlotte, North Carolina;
       Baltimore, Maryland; and
       West Orange, New Jersey

       Additional offices are located in:

       Danbury, Connecticut; and
       Long Island, New York




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      The companies’ main headquarters is located in Woodside, New York in the borough of
Queens.

        Need It Now offers the following services to its customers: rush courier and on-demand
delivery; prescheduled and routed delivery; warehousing; expedited air freight; international air
freight; LTL, truckload and expedited trucking; home and final mile delivery; and facilities
management.

        Among the industries served by Need It Now are: health services; accounting; architecture
and engineering; financial and banking; legal; public relations; home delivery and final mile
distribution; retail; construction and building; food services and hospitality; and freight
forwarding.

      The companies’ customers include large and well-known retailers, both online and brick
and mortar; major law firms and investment banks, and leading health services companies.

       In all of these areas, Need It Now employs sophisticated technology and superior service
to provide its customers with fast, efficient and quality performance. Need It Now has been
providing these services to its customers for over 25 years and throughout its history has been
recognized for being fast and dependable.




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